       Case 3:07-cr-00488-ADC        Document 722        Filed 10/07/08    Page 1 of 9



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,
                                                        CRIMINAL NO. 07-488 (ADC)
               v.

 [14] EDUARDO MEJIAS-ALVAREZ,

 Defendant.


                         REPORT AND RECOMMENDATION

       Defendant Eduardo Mejías-Alvarez was charged in Counts One (1) through Seven (7),

and Count Eleven (11) and Count Twelve (12) of an Indictment and he agreed to plead guilty

to Counts One and Seven of the Indictment. Count One charges that, beginning in or about

the year 2005, exact date unknown, and continuing up to and until the return the instant

indictment in Trujillo Alto, Carolina and San Juan, District of Puerto Rico and elsewhere, and

within the jurisdiction of this Court, defendant Mejías-Alvarez and other defendants, did

knowingly and intentionally, conspire, combine and agree with each other and others known

and unknown to the Grand Jury, to commit offenses against the United States, that is, to

possess with intent to distribute one (1) kilogram or more of heroin, a Schedule I, Narcotic

Controlled Substance; fifty (50) grams or more of cocaine base hereinafter referred to as crack

cocaine), a Schedule II Controlled Substance, five (5) kilograms or more of cocaine, a

Schedule II, Controlled Substance; and detectable amounts of marihuana, a Schedule I,

Controlled Substance, within one thousand (1,000) feet of the real property comprising a

housing facility owned by a public housing authority, that is, Nuestra Señora de Covadonga

Public Housing Project; or of a public school, that is the Head Start Program Located within

Nuestra Señora de Covadonga Public Housing Project all in violation of Title 21, United

States Code, Sections 846, 845(a)(1), (b)(1)©, (b)(2), and 860.
        Case 3:07-cr-00488-ADC                  Document 722             Filed 10/07/08          Page 2 of 9


United States of America v. Eduardo M ejías-Alvarez [14]
Criminal No. 07-488(ADC)
Report and Recommendation
Page 2


         Count Seven charges that beginning in or about the year 2005, exact date unknown

and continuing up to an until the return of the instant indictment in Trujillo Alto, Carolina

and San Juan, District of Puerto Rico and elsewhere and within the jurisdiction of this Court,

Eduardo Mejias-Alvarez and other defendants, aiding and abetting each other, did

knowingly possess firearms and ammunition during and in relation to a drug trafficking

crime, as charged in Counts One through Five of the Indictment, which may be prosecuted

in a Court of the United States.                   All in violation of Title 18, United States Code,

924(c)(1)(A)(I) and 2.

         On October 6, 2008, defendant appeared before this Magistrate Judge, since the Rule11

hearing was referred by the Court. Defendant was provided with a Waiver of Right to Trial by

Jury, which he signed and agreed upon voluntarily after examination in open court, under

oath.

         Defendant indicated and confirmed his intention to plead guilty to Counts One and

Seven of the Indictment, upon being advised of his right to have said proceedings before a

district judge of this court.1 Upon verifying through defendant’s statement his age, education

and any relevant aspect as to the use of medication, drugs, alcohol or substance dependency,

and psychological or psychiatric condition, to ascertain his capacity and ability to understand,

answer and comprehend the interactive colloquy with this Magistrate Judge, a determination

was made as to defendant’s competency and ability to understand the proceedings.

         Having further advised defendant of the charges contained in above-stated Counts One

and Seven, he was examined and verified as being correct that: he had consulted with his

counsel, Jorge Gerena-Méndez, prior to the hearing for change of plea, that he was satisfied



         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
        Case 3:07-cr-00488-ADC                 Document 722   Filed 10/07/08     Page 3 of 9


United States of America v. Eduardo M ejías-Alvarez [14]
Criminal No. 07-488(ADC)
Report and Recommendation
Page 3


with the services provided by his legal representative and had time to discuss with him all

aspects of the case, insofar, among other things, regarding the change of plea, the consent to

proceed before a United States Magistrate Judge, the content of the Indictment and the

charges therein, his constitutional rights and the consequences of the waiver of same.

         Defendant was specifically apprised by this Magistrate Judge that, upon withdrawing

his initial plea of not guilty and now entering a plea of guilty to the charge specified, he was

waiving his right to a public, speedy, and a trial by jury constituted by twelve jurors who have

to unanimously agree to a verdict. He was also waiving his right to be presumed innocent and

for the government to meet the obligation of establishing his guilt beyond a reasonable doubt.

Furthermore, he was waiving his right during said trial to confront the witnesses who were to

testify against him and be able to cross-examine them, through counsel at said trial, as well as

present evidence on his behalf. He was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically apprised of his right to take the stand and testify, if he so decided, or not to testify,

and no inference or decision as to his guilt could be made from the fact if he decides not to

testify. Defendant was also explained his right not to incriminate himself; that upon such a

waiver of all above-discussed rights a judgment of guilty and his sentence were to be based on

his plea of guilty, and he would be sentenced by the judge after considering the information

contained in a pre-sentence report.

         As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of his counsel, Attorney Gerena-Méndez,

indicated he freely and voluntarily waived those rights and understood the consequences.

During all this colloquy, defendant was made aware that he could freely request from this
        Case 3:07-cr-00488-ADC                 Document 722   Filed 10/07/08   Page 4 of 9


United States of America v. Eduardo M ejías-Alvarez [14]
Criminal No. 07-488(ADC)
Report and Recommendation
Page 4


Magistrate Judge any additional clarification, repetition, or ask questions and that he may

consult with his attorney at any given time as to any issue.

         Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The penalty for the offense charged in Count One

is term of imprisonment of not less than (10) years and up to life imprisonment, a fine not to

exceed four million dollars ($4,000,000.00), a term of supervised release of at least ten (10)

years in addition to any term of incarceration. The Court must also impose a mandatory

penalty assessment of one hundred dollars($100.00), per count, to be deposited in the Crime

Victim Fund.

         Based on the stipulated and agreed amount of narcotics possessed by the defendant,

that is, at least three point five (3.5) kilograms but less than five (5) kilograms of cocaine, the

penalty for the offense shall be, a term of imprisonment of not less than five (5) years and not

more than eighty (80) years, and a fine not to exceed two million ($2,000,000.00) a term of

supervised release of at least eight (8) years, all pursuant to Title 21, United States Code,

Section 841(b)(1)(B) and 860.

         The penalty for the offense charged in count Seven of the Indictment is a term of

imprisonment of not less than five (5) year, to be served consecutive from any other Count of

conviction; and a fine not to exceed $2,000,000.00, and a term of supervised release of up to

eight (8) years, all in violation of Title 18, United States Code, Section 924(c)(1)(A)(I).

         Having ascertained directly from defendant that he had not been induced in any way

to plead guilty, that no one had forced him in any way to plead guilty, nor that he had been

offered any reward or any other thing of value to get him to plead guilty, the document entitled
        Case 3:07-cr-00488-ADC                 Document 722   Filed 10/07/08   Page 5 of 9


United States of America v. Eduardo M ejías-Alvarez [14]
Criminal No. 07-488(ADC)
Report and Recommendation
Page 5


“Plea Agreement” pursuant to Rule 11(c)(1)(A) and (B) FRCP (“the Agreement”) and the “Plea

Agreement Supplement” were shown to defendant, verifying his signature and initials on each

and every page.

         Pursuant to said Agreement, and insofar as Counts One and Seven, as to which

defendant already was aware of the maximum possible penalties, defendant was apprised that

it was up to the sole discretion of the sentencing court what the sentence to be imposed on him

will be. Defendant was specifically informed that if the sentencing court were to impose a

sentence which turned out to be higher or more severe than the one he might be expecting, for

said reason alone, defendant would have no grounds for the court to allow him to withdraw

his plea of guilty.

         The above-captioned parties’ estimate and agreement that appears on page four (4) and

five (5), paragraph seven (7) of the Agreement, regarding the possible applicable advisory

Sentencing Guidelines, were further elaborated and explained. The parties stipulate that, as

part of the plea agreement, the defendant is accepting responsibility for at least three point five

(3.5) kilograms but less than five (5) kilograms of cocaine. Pursuant to U.S.S.G. § 2D1.1(5), the

Base Offense Level is of Thirty (30). Pursuant to U.S.S.G. § 2D1.2(a)(1), a two (2) level

increase is warranted for protected location. Pursuant to U.S.S.G. § 3E1.1, a decrease of three

(3) levels is agreed for acceptance of responsibility. Therefore, the Total Offense Level is of

Twenty-Nine (29), yielding an imprisonment range of ninety-seven (97) to one hundred and

twenty-one (121) months, assuming a Criminal History Category of II; and one hundred and

eight (108) to one hundred and thirty-five (135) months, assuming a Criminal History Category

of III. Count Seven would result in an imprisonment of sixty (60) months consecutive to

Count One.
        Case 3:07-cr-00488-ADC                 Document 722   Filed 10/07/08   Page 6 of 9


United States of America v. Eduardo M ejías-Alvarez [14]
Criminal No. 07-488(ADC)
Report and Recommendation
Page 6


         The parties agree to recommend to the Court, that the defendant be sentenced to serve

a term of imprisonment of one hundred and eight (108) months, or the lower end of the

applicable guidelines for Count One, and a term of sixty (60) months for Count Seven, to be

served consecutively to Count One, for a total recommendation of one hundred sixty-eight

(168) months as CHC II/III (or, the lower end of the applicable guidelines if greater than 108

months). The parties understand that the Court is not bound by the recommendation and that

the Court, after consideration of the factors contemplated within the U.S.S.G. and Title 18,

United States Code, Section 3553 et seq., may sentence the defendant to any amount of time

up to and including the statutory maximum for the offense to which he plead, and that such

a sentence will not invalidate this agreement.

         Pursuant to paragraph 9, the United States and the defendant agree that no further

adjustments or departures to the defendant’s total adjusted base offense level shall be sought

by the parties. The parties agree that any request by the defendant for an adjustment or

departure will be considered a material breach of this plea agreement. The parties agree that

any request by the defendant for a sentence below the agreed upon term of one hundred sixty-

eight (168) months (or lowest applicable guideline range plus sixty (60) months should the

CHC be higher than II) or for an adjustment or departure will be considered a material breach

of this plea agreement.

         Pursuant to paragraph 10, the parties do not stipulate any assessment as to the

defendant’s Criminal History Category.

         At sentencing, the United States agrees to recommend a dismissal of the remaining

counts of the Indictment which were filed against the defendant.
        Case 3:07-cr-00488-ADC                 Document 722   Filed 10/07/08   Page 7 of 9


United States of America v. Eduardo M ejías-Alvarez [14]
Criminal No. 07-488(ADC)
Report and Recommendation
Page 7


         As part of the written Agreement, the government, the defendant, and his counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

         The government presented to this Magistrate Judge and to defendant, assisted by his

counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the

commission of the offense, beyond a reasonable doubt. Counsel and defendant acknowledged

the evidence of the government was fully disclosed to them and previously discussed between

the two. Defendant was able to understand this explanation and agreed with the government’s

submission.

         Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

         Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact he is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any

sentence of imprisonment would be served, without him being released on parole. Defendant

was additionally informed that prior to sentence, the sentencing judge will have a pre-sentence

report and that it would be made available to him, to his counsel and to the government, so

that they be allowed to correct or object to any information contained in said report which was
        Case 3:07-cr-00488-ADC                 Document 722         Filed 10/07/08         Page 8 of 9


United States of America v. Eduardo M ejías-Alvarez [14]
Criminal No. 07-488(ADC)
Report and Recommendation
Page 8


not accurate. Depending on the facts found by the court at the time and the sentence imposed,

both defendant and the government may appeal the sentence of the court.2

         Counts One and Seven of the Indictment were read in open court to defendant and he

stated he understood the charges and that he was pleading guilty to Counts One and Seven.

Defendant was shown a written document entitled Statement of Facts, which had been signed

by defendant and his counsel and is attached to the Agreement, wherein the signature of

counsel for the government also appears. Defendant was provided an opportunity to see and

examine same, indicating he availed himself of the opportunity to further discuss same with

his attorney and then he positively stated that what was contained in Counts One and Seven

was what he had done and to which he was pleading guilty during these proceedings.

Thereafter, defendant expressed in no uncertain terms that he agreed with the government’s

evidence as to his participation in the offense. Thereupon, defendant indicated he was

pleading guilty to Counts One and Seven of the Indictment in Criminal No. 07–488 (ADC).

         This Magistrate Judge after having explained to the defendant his rights, ascertaining

that he was acting freely and voluntarily to the waiver of such rights and in his decision of

pleading guilty, with full knowledge of the consequences thereof, and there being a basis in fact

for such a plea, is recommending that a plea of guilty be entered as to Counts One and Seven

of the Indictment in Criminal No. 07-488 (ADC).




         2
          The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in
paragraph nineteen (19) a waiver of appeal. Defendant acknowledged discussing the waiver of appeal with his counsel
and stated he understood the consequences of the same.
        Case 3:07-cr-00488-ADC                 Document 722    Filed 10/07/08   Page 9 of 9


United States of America v. Eduardo M ejías-Alvarez [14]
Criminal No. 07-488(ADC)
Report and Recommendation
Page 9


         IT IS SO RECOMMENDED.

         The sentencing hearing will be scheduled promptly, before Honorable Aida M. Delgado-

Colón, District Court Judge.

         San Juan, Puerto Rico, this 6th day of October of 2008.



                                                      s/ CAMILLE L. VELEZ-RIVE
                                                      CAMILLE L. VELEZ-RIVE
                                                      UNITED STATES MAGISTRATE JUDGE
